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                       IN THE UNITED STATES BANKRUPTCY
                         FOR THE DISTRICT OF MARYLAND



In Re:
     Amir E. Dariani                                 Chapter 13

             Debtor                           Case No. 17-17645

************************************

    MOTION DIRECTING CHAPTER 13 TRUSTEE TO PAY COUNSEL FEES

    COMES NOW Harris S. Ammerman, Esq. and requests that the

Court direct the Chapter 13 trustee to pay him for attorney’s

fees following entry of the Court’s Order Denying Confirmation

of Chapter 13 Plan Without Leave to Amend.

    1. Counsel filed debtor’s Chapter 13 case on 6/2/17.             The

       Court entered and Order on 11/2/17 Doc 51 Denying

       Confirmation of Chapter 13 Plan Witho9ut Leave to Amend.

       According to the Chapter 13 trustee’s ledger, Ms. Grigsby

       has collected $200.00 in plan payments that have not been

       disbursed.

    2. Counsel’s 2016(b) statement shows that the balance of his

       attorney’s fees totaling $3,225.00 were to have been paid

       in the Plan.

    3. In conformity with the ruling by Judge Rice in the

       Brandon case (14-23735), counsel requests that the funds

       being held by the trustee, less her commission,             be paid
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          for services rendered.

       WHEREFORE, counsel prays that this Court:

            (a)   Order the Chapter 13 trustee Ms, Grigsby to pay

$200.00 less trustee’s commission to counsel from the funds

being held in escrow and for such other relief as is just and

proper.

                                           Respectfully submitted,

                                           /s/Harris S. Ammerman #04141
                                           Harris S. Ammerman, Esq.
                                           1115 Massachusetts Ave. Nw
                                           Washington, D.C. 20005
                                           202- 638 0606

                  CERTIFICATE OF SERVICE

       I hereby certify on this 8th day of November, 2017 that I reviewed the
Court’s CM/ECF system and it reports that an electronic copy of the Request for
payment of fees will be served electronically by the Court’s CM/ECF system on
the following:

Nancy Grigsby, trustee
185 Admiral Cochrane Dr. Suite 240
Annapolis, MD 21401

   •   Nikita Rajendra Joshi Nikita.Joshi@bww-law.com, bankruptcy@bww-
       law.com
   •   Gene Jung gene.jung@brockandscott.com,
   •   Charles Cecil Lamari CCLamari@LerchEarly.com
   •   Nancy Spencer Grigsby grigsbyecf@ch13md.com
   •   Diana Carolina Valle ecf@logs.com

       I hereby certify on this 8th day of November, 2017, a copy of the Request
for Payment of Fees was also mailed first class mail, postage prepaid to All
creditors on the attached mailing matrix.
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         Respectfully submitted,

          /s/ Harris S. Ammerman #04141
          Harris S. Ammerman, Esq.
           1115 Massachusetts Ave. NW
            Washington, D.C. 20005
            202 638 0606
